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                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION

SALOMON CERVO SINISTERRA,


-vs-                                                        Case No. 8:04-cr-84-T-24TGW
                                                                     8:05-cv-1569-T-24TGW

UNITED STATES OF AMERICA.
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                                                   ORDER

          This cause is before the Court on Defendant's 28 U.S.C. § 2255 motion to vacate, set

aside, or correct an allegedly illegal sentence. (Doc. cv-1, cr-304).

                                              BACKGROUND

          Defendant pled guilty to count one of the Indictment pursuant to a written plea

agreement that contained a waiver of appeal. (Plea Agreement, Doc. cr-54, p. 11, ¶ 5).

          Count one charged Defendant with conspiracy with intent to distribute five kilograms or

more of cocaine while on board a vessel subject to the jurisdiction of the United States in

violation of Title 46, Appendix, United States Code, Sections 1903(a) (g) and (j) and Title 21

United States Code, section 960(b)(1)(B)(ii). (Doc. cr-54). Under the terms of the plea

agreement, the remaining count was to be dismissed at sentencing.

          On August 26, 2004, the Court sentenced Defendant to 87 months incarceration.1 Count

two was dismissed on the Government's motion. (Doc. cr-148). Judgment was entered (Doc.

cr-152).      Even though Defendant's plea agreement contained a waiver of appeal clause,



              1
                The sentence reflected a four-level downward departure pursuant to a motion filed by the
       government under the provisions of 5K1.1 of the United States Sentencing Guidelines and Title 18 U.S.C.
       3553(e).
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Defendant filed a direct appeal on May 23, 2005. (Doc. cr-292). On June 29, 2005, the United

States Court of Appeals for the Eleventh Circuit dismissed the appeal, sua sponte, for lack of

jurisdiction because the Notice of Appeal was untimely. (Doc. cr-301). Defendant signed the

present timely filed 28 U.S.C. § 2255 motion to vacate on August 17, 2005, raising two grounds

for relief. A review of the record demonstrates that, for the following reasons, Defendant's

motion to vacate must be DENIED.

                                         Ground One

       In Ground One, Defendant alleges that the District Court erred in sentencing the

Defendant at Level 38. In support of his allegation, Defendant contends that the sentencing

procedure by which the base offense level "is increased to Level 38" without a jury's

determination, or consent to judicial fact finding, is now unlawful, as violating the appellant's

constitutional rights.

       In his memorandum in support of the motion to vacate, Defendant cites Apprendi v. New

Jersey, 530 U.S. 466, 490 (2000) and Blakely v. Washington, 542 U.S. 296 (2004).

                                         Ground Two

       Defendant alleges the his sentence violates the Sixth Amendment because the federal

sentencing guidelines are unconstitutional.

                                         DISCUSSION

       Although Defendant does not cite United States v. Booker, --- U.S. ----, 125 S.Ct. 738,

--- L.Ed.2d ---- (2005), which was consolidated with United States v. FanFan, No. 04-105,

Supreme Court, 2005, Defendant's claims are clearly based on the holding in Booker. Booker

held that the portion of the Federal Sentencing Act (the Act) which called for promulgation of

federal sentencing guidelines and made such guidelines mandatory, was incompatible with the

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Sixth Amendment. Booker required that the provisions of the Act that made the guidelines

mandatory be severed and excised. However, Booker also held that the Guidelines were

Constitutional if used as an advisory sentencing tool.

       However, because Booker, which encompasses the holdings in Blakely and Apprendi,

is not retroactively applicable to cases on collateral review, Defendant's 28 U.S.C. section 2255

challenge to his sentence has no merit. See Varela v. U.S., 400 F.3d 864, 868 (11th Cir. 2005).

(The Supreme Court's Booker decision is not retroactively applicable to cases on collateral

review.).

       Accordingly, the Court orders:

       That Defendant Sinisterra's motion to vacate (Doc. cv-1 and cr-304) is denied, with

prejudice. The Clerk is directed to enter judgment against Sinisterra in the civil case and to

close that case.

       ORDERED at Tampa, Florida, on August 31, 2005.




AUSA: Anthony E. Porcelli
Pro Se: Salomon Cuevo Sinisterra




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